                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

            Sneha Amin,               )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               3:21-cv-00107-GCM
                                      )
                 vs.                  )
                                      )
        Alejandro Mayorkas            )
            Tracy Renaud
          Merrick Garland
       Christopher M. Heffron,
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered.

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 2, 2021 Order.

                                               December 2, 2021




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